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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: ) Chapter 11
)
THE PMI GROUP, INC., a Delaware ) Case No. 11-13730 (BLS)
Corporation, )
) Ref. Docket Nos. 1322, 1325, 1326 and 1131
Reorganized Debtor. )

 

AMENDED? ORDER ISSUING A FINAL DECREE
CLOSING THE CHAPTER 11 CASE

Upon consideration of the motion (the “Motion”) of the Reorganized Debtor for
entry of an order issuing a final decree closing the Chapter 11 Case pursuant to sections 350(a)
and 105(a) of the Bankruptcy Code, Rule 3022 of the Bankruptcy Rules, and Local Rules 3022-
l(a) and 2002-1(f)(ix); and upon consideration of the Motion; and due and proper notice of the
Motion having been given; and it appearing that no other or further notice of the Motion is
required; and it appearing that the Court has jurisdiction to consider the Motion in accordance
with 28 U.S.C. §§ 1334(b) and 157 and the Standing Order; and it appearing that this is a core
proceeding pursuant to 28 U.S.C. § 157(b)(2); and it appearing that venue of this proceeding and
the Motion is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and it appearing that due and
proper notice of the Motion was provided and that no other or further notice need be provided;

and it appearing that the relief requested in the Motion and provided for herein is in the best

 

The last four digits of the Reorganized Debtor’s federal tax identification number are 9675.
The Reorganized Debtor’s mailing address is: The PMI Group, Inc., 1201 North Orange Street,
Suite 800, Wilmington, DE 19801-1186 (Attn: Chief Executive Officer).

; This Order corrects certain scrivener’s errors in the original Order Issuing a Final Decree
Closing the Chapter 11 Case entered on May 21, 2015 [D.I. 1326].

3 :
Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in
the Motion.

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interest of the Reorganized Debtor and creditors; and the Court having determined the legal and
factual bases set forth in the Motion establish just cause for the relief granted herein; and all
objections to the Motion having been overruled or resolved; and after due deliberation and
sufficient cause appearing therefor; it is hereby:

ORDERED, ADJUDGED, AND DECREED that:

l. The Motion is GRANTED to the extent set forth herein.

2. The chapter 11 case numbered 11-13730 (BLS) is hereby closed and a
final decree is granted effective nunc pro tunc to May 21, 2015; provided, however, that this
Court shall retain jurisdiction as provided for in the Plan and the Confirmation Order.

3. Notwithstanding anything herein to the contrary, nothing in this Order
shall release, impair or otherwise affect any of the rights of PMI Mortgage Insurance Co.
(“MIC”) or its Receiver, or the obligations of the Reorganized Debtor, arising under or related to
the Settlement Order and the MIC Agreements (each as defined in the Plan), or any other
agreements entered into after the Petition Date between the Debtor and/or the Reorganized
Debtor and MIC and/or its Receiver, or under the Plan and Confirmation Order.

4. Within thirty (30) days of May 21, 2015, the Reorganized Debtor shall
(a) complete the remaining quarterly report for the period ending June 30, 2015, and (b) pay all
quarterly fees due and owing with respect to this chapter 11 case.

5. KCC is hereby terminated and released as claims and noticing agent in
accordance with the Motion upon the completion of the services listed in paragraph 6 below.
Thereafter, KCC shall have no further obligations to the Court, the Debtor, the Reorganized
Debtor, or any party in interest with respect to KCC’s engagement as the claims and noticing

agent in this chapter 11 case.

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6. Pursuant to Local Rule 2002-1(f)(ix), within thirty days of May 21, 2015,
KCC shall (a) forward to the Clerk an electronic version of all imaged claims, (b) upload the
creditor mailing list into CM/ECF, and (c) docket a Final Claims Register. KCC shall further
box and transport all original claims to the Philadelphia Federal Records Center, 14700
Townsend Road, Philadelphia, Pennsylvania 19154 and docket a completed SF-135 Form
indicating the accession and location numbers of the archived claims.

7. Should KCC receive any mail regarding the Debtor after entry of this
Order, KCC shall collect and forward such mail no less frequently than monthly to the
Reorganized Debtor at the following address (or such other address as may be subsequently
provided by the Reorganized Debtor to KCC): The PMI Group, Inc., 1201 North Orange Street,
Suite 800, Wilmington, DE 19801-1186 (Attn: Chief Executive Officer).

8. The Reorganized Debtor is authorized and empowered, and may in its
discretion and without further delay, take any action and perform any act necessary to implement
and effectuate the terms of this Order.

9, Upon completion of the Final Distribution and the items referred to in
paragraph 4 of this Order, the Reorganized Debtor, its predecessors, successors, affiliates,
officers, directors, agents, attorneys, advisors and other representatives (i) shall have complied
with all of their obligations regarding the Plan and Confirmation Order, (ii) shall be fully and
finally released and discharged of and from any duties, obligations, accountings or other matters
of any nature with respect to the Plan and the Confirmation Order, and (iii) shall have no further

responsibilities or obligations in connection with the Plan or the Confirmation Order.

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10... The Court shall retain jurisdiction to hear and determine all matters arising

from or related to the implementation, interpretation, and/or enforcement of this Order.

     
 

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Dated:

Bye SEMI

Brendan L. Shannon
Chief United States Bankruptcy Judge

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